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 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
 2

 3
       UNITED STATES OF AMERICA               )
 4                                            )
       vs.                                    ) Criminal Action
 5                                            )
       HERZZON SANDOVAL,                      ) No. 15-10338-FDS
 6     EDWIN GUZMAN,                          )
       CESAR MARTINEZ,                        )
 7     ERICK ARGUETA LARIOS,                  )
                          Defendants          )
 8

 9
       BEFORE:   THE HONORABLE F. DENNIS SAYLOR, IV
10

11
                                  JURY TRIAL DAY 17
12

13
                  John Joseph Moakley United States Courthouse
14                               Courtroom No. 2
                                1 Courthouse Way
15                              Boston, MA 02210

16                                February 22, 2018
                                     9:03 a.m.
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23                              Valerie A. O'Hara
                             Official Court Reporter
24                John Joseph Moakley United States Courthouse
                           1 Courthouse Way, Room 3204
25                              Boston, MA 02210
                            E-mail: vaohara@gmail.com
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 1     APPEARANCES:

 2     For The United States:

 3          United States Attorney's Office, by CHRISTOPHER J. POHL,
       ASSISTANT UNITED STATES ATTORNEY, and KELLY BEGG LAWRENCE,
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       Boston, Massachusetts 02110;
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       For the Defendant Herzzon Sandoval:
 6
            Foley Hoag LLP, by MARTIN F. MURPHY, ESQ. and
 7     MADELEINE K. RODRIGUEZ, ATTORNEY,
       155 Seaport Boulevard, Boston, Massachusetts 02210;
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11     For the Defendant Erick Arueta Larios:

12          THOMAS J. IOVIENO, ESQ., 345 Neponset Street
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       For the Defendant Cesar Martinez:
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            STANLEY W. NORKUNAS, ESQ., 11 Kearney Square,
15     Howe Building, Suite 202, Lowell, Massachusetts 01852.

16          ROBERT M. SALTZMAN, ESQ., 1 Central Street, Suite 5,
       Stoneham, Massachusetts 02180.
17
       ALSO PRESENT:    Gabriel Haddad, Spanish Interpreter
18                      Carrie Lilley, Spanish Interpreter

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           1                                   PROCEEDINGS

           2               THE CLERK:    All rise for the jury.

           3               (JURORS ENTERED THE COURTROOM.)

           4               THE COURT:    Good morning, everyone.      It looks like we

           5     have the twelve of you and the three alternates, so I will

           6     instruct you to resume your deliberations.         If I haven't heard

           7     from you otherwise, I'm going to check in with you a few

           8     minutes before five.     If you think you're close and you want to

           9     keep going, I'll let you do that at some point.

09:03AM   10               At some point, the building starts to shut down, but

          11     if you want to stay until 5:15 or 5:30, that's easy, that's if

          12     I haven't heard from you otherwise.         I instruct you to retire

          13     and resume your deliberations.

          14               (Jury deliberating)

          15               THE CLERK:    All rise.

          16               (JURORS EXITED THE COURTROOM.)

          17               THE CLERK:    All rise.    Thank you.    You may be seated.

          18     Court is now back in session.

          19               THE COURT:    All right.    I have a question from the

12:18PM   20     jury.   It's a legal question that relates to the instructions I

          21     think on page 49.     I'll read the note and then read it again

          22     because I want to make sure we're all following it correctly.

          23     So the note reads as follows:

          24               For the first element of Count 2 on pages 35 to 36,

          25     the following statement reads:       "The defendants and their
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           1     co-conspirators are alleged to have conspired to conduct and

           2     participate in the conduct of the affairs of the MS-13 criminal

           3     enterprise through a pattern of racketeering activity that

           4     included murder, attempted murder and illegal drug

           5     trafficking."

           6               Further, it also states that "If you find beyond a

           7     reasonable doubt that a conspiracy of some kind existed between

           8     the defendant and some other person, that in and of itself is

           9     not sufficient to find the defendant guilty."

12:19PM   10               Again, the government is required to prove beyond a

          11     reasonable doubt the existence of the conspiracy specified in

          12     the indictment.    As per the terms of this indictment,

          13     underlined, "In order to establish the first element, do we

          14     need to be able to find evidence beyond a reasonable doubt of

          15     all elements of racketeering specified in the indictment or

          16     only one or more pieces?      To be more specific, would we need to

          17     be able to establish that MS-13 as an enterprise engaged in

          18     murder, attempted murder and illegal drug activity or just one

          19     or more of those actions?"      Signed by the foreperson.

12:20PM   20               I'll read it again.      For the first element of Count 2

          21     on pages 35 to 36, the following statement reads:          "The

          22     defendant and their co-conspirators are alleged to have

          23     conspired to conduct and participate in the conduct of the

          24     affairs of the MS-13 criminal enterprise through a pattern of

          25     racketeering activity that included murder, attempted murder
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           1     and illegal drug trafficking."

           2                 Further, it also states that "If you find beyond a

           3     reasonable doubt that a conspiracy of some kind existed between

           4     the defendant and some other person, that in and of itself is

           5     not sufficient to find the defendant guilty.         Again, the

           6     government is required to prove beyond a reasonable doubt the

           7     existence of the conspiracy specified in the indictment."

           8                 "As per the terms of this indictment underlined, In

           9     order to establish this element, do we need to be able to find

12:21PM   10     beyond a reasonable doubt of all elements of racketeering

          11     specified in the indictment or only one or more pieces?           To be

          12     more specific, would we need to be able to establish that MS-13

          13     as an enterprise engaged in murder, attempted murder and

          14     illegal drug trafficking, or just one or more of those

          15     actions?"

          16                 I think this question falls broadly under the heading

          17     that indictments charge things in the conjunctive, but proof is

          18     only required in the disjunctive, that is, the basic principle

          19     is that although there must be unanimous agreement as to the

12:21PM   20     type of racketeering activity, the type can be murder or

          21     attempted murder or illegal drug activity, and then the trick

          22     is how do I explain that to them in a way that's coherent?

          23     Mr. Lopez, did you want to say something?

          24                 MR. LOPEZ:   No, because when the interpreter is

          25     speaking, it's hard for me to hear you and him.
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           1               THE COURT:    All right.    So I guess what I propose to

           2     do is to maybe walk through some basics just to make sure we're

           3     in agreement because the first and the third elements blend and

           4     overlap a little bit and just to set a framework, I want to be

           5     clear to them that the charged conspiracy is a conspiracy to

           6     commit the crime of racketeering.

           7               The defendants must agree that the objective of the

           8     conspiracy was to engage in a pattern of racketeering activity.

           9     Pattern of racketeering activity requires two or more

12:22PM   10     racketeering acts that are related and pose a threat of

          11     continuing criminal activity, and because the indictment so

          12     charges the racketeering acts have to qualify as murder, armed

          13     assault with intent to murder, or drug trafficking and

          14     firearms, again, firearm offenses do not qualify.

          15               The focus is on the agreement.       The defendants don't

          16     have to have personally committed any racketeering acts, don't

          17     have to have personally agreed to commit any racketeering acts,

          18     and the racketeering acts don't even have to have been

          19     committed, but there has to be an agreement that the enterprise

12:23PM   20     would engage in a pattern of racketeering activity, and it has

          21     to be -- there has to be unanimous agreement by the jury that

          22     it's a particular type of racketeering activity.

          23               I propose the following example as a hypothetical:      If

          24     A agrees to join a racketeering enterprise and he thinks it's a

          25     drug dealing enterprise and B agrees to join the same
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           1     enterprise but he thinks it's a murder enterprise, there is

           2     not -- they're not guilty of the crime because they have agreed

           3     or they both think it's different racketeering acts.

           4               If A thinks it's a murder enterprise and B thinks it's

           5     a murder enterprise, the necessary agreement would be reached.

           6     If A thinks it's murder and drugs and B thinks it's murder

           7     only, the necessary agreement is reached as to murder and so on

           8     so that, again, the jury need only find, although it must find

           9     unanimously, that the pattern of racketeering activity involved

12:24PM   10     murder or attempted murder or drugs or some combination of

          11     them.

          12               Let me throw that out as a starting point.         Mr. Pohl.

          13               MR. POHL:    Thank you, your Honor.

          14               THE COURT:    Ms. Lawrence I think is the law person

          15     here.

          16               MS. LAWRENCE:     Mr. Pohl can.

          17               MR. POHL:    That's all right.     Ms. Lawrence, I'm sure,

          18     will jump up if I don't get it right.        Let's put it this way,

          19     Ms. Lawrence and I conferred quietly while you were speaking,

12:24PM   20     and our opinion is that except for the hypothetical, which both

          21     of us, I think, had an adverse reaction to, we think that's

          22     right.   Everything up to the hypothetical we thought was the

          23     correct statement of the law, concluding the way that you

          24     suggested, which is that it's in the disjunctive, it's murder

          25     or attempted murder or drug trafficking is correct, and I think
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           1     that has to be explained to the jury.        I think that's clearly

           2     their intention of their note.       It sounds like they're double

           3     checking to make sure that they don't need to find all three,

           4     that they just need to be agreed on one or the other or the

           5     other.

           6               THE COURT:    Well.   The poor jury, I mean, you know,

           7     the truth is --

           8               MR. POHL:    You never know.

           9               THE COURT:    -- this is hard for Supreme Court Justices

12:25PM   10     to get right, never mind ordinary people.

          11               MR. POHL:    So I think except for the hypothetical, we

          12     think that that's both a correct statement of the law and an

          13     appropriate response.     Thank you.

          14               THE COURT:    Who wants to respond?      Mr. Murphy.

          15               MR. MURPHY:    And I speak only for myself here, so

          16     others may contradict me, but I think, your Honor, that the

          17     proposed instruction that the Court provided used the phrase

          18     "join the enterprise," which I think the Court declined to use

          19     during the course of its charge.

12:26PM   20               THE COURT:    Well, I'll make sure it's agreed to join

          21     an enterprise.

          22               MR. MURPHY:    I would think, your Honor, I mean, the

          23     word "join" was not a word that I believe the Court used in its

          24     instructions except perhaps in the murder conspiracy charge, so

          25     I would respectfully suggest that the Court say "agreed to
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           1     participate in the conduct of affairs of the enterprise" or "in

           2     the conduct of the enterprise" rather than "join."          With

           3     respect to -- so that is the first request that I would make.

           4                The second is that, again, others on the defense side

           5     may disagree with that, but singling out firearms seems to me

           6     to be -- I would rather have the Court simply say nothing about

           7     offenses that don't count or say including firearms.

           8                THE COURT:    That's fine, I'm happy to omit it.        I'm,

           9     obviously, doing this somewhat quickly.

12:27PM   10                MR. MURPHY:    And I think to state the concern that I

          11     have based on the jury's note, and it's a lot to read into, but

          12     I think the jury's question suggests or could suggest that they

          13     are focused solely on what the enterprise does rather than

          14     whether the defendant agreed to participate in the enterprise

          15     through those acts, which I think the Court has explained in

          16     detail in its instructions.

          17                THE COURT:    Well, that's why I want to take it from

          18     the top.   That's a fine distinction, and I'm not presumed to

          19     assume anything about what they know or don't know, and I guess

12:28PM   20     I'll make clear that I'm attempting to impart summarized

          21     instructions that are quite detailed and that they should

          22     understand that it's a summary and that the written

          23     instructions that I delivered are the instructions they're to

          24     follow, but -- well, let me hear does anyone else want to

          25     respond?   Mr. Lopez.
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           1                MR. LOPEZ:     Your Honor, I guess I'm focused on the

           2     agreement part of it, and what I read from that question is

           3     that in looking at the time each of these defendants agreed, if

           4     they agreed to -- agreed to this racketeering conspiracy that

           5     they knew and were agreeing to commit or knew that part of the

           6     racketeering conspiracy was to commit these racketeering acts,

           7     so I would try to more focus on in essence what they knew at

           8     the time they agreed to enter into the conspiracy.

           9                THE COURT:     I'm sorry, what would you like me to say

12:29PM   10     specifically?

          11                MR. LOPEZ:     Well, I think you initially -- the first

          12     sentence, you said was something like they agreed to, I think

          13     you used the word "join" the racketeering conspiracy.

          14                THE COURT:     I'm going to change that, but they agreed

          15     to --

          16                MR. LOPEZ:     I think the pivotal question in the case

          17     is what did they know about this organization at the time they

          18     agreed to be a part of it, if they agreed to be a part of it,

          19     and did they know that this organization was involved in murder

12:30PM   20     and the other racketeering acts.

          21                THE COURT:     Okay.   Mr. Iovieno.

          22                MR. IOVIENO:    It's a confusing question to really

          23     respond to it at this point.       I guess, I mean, they have a copy

          24     of the instructions, and it seems like the Court's response may

          25     somehow suggest, I mean, I want to emphasize the pattern of
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           1     racketeering they still have to find, not simply a murder or

           2     attempted murder, and I think to then explain to them what

           3     aren't acts, I think that's important.         I would disagree with

           4     Attorney Murphy, that the firearms clearly aren't, but there

           5     are other acts also.      I think that should be emphasized.

           6                THE COURT:     For what it's worth, by the way,

           7     apparently the First Circuit within the last week or two

           8     reversed a case out of Puerto Rico in which the Judge

           9     instructed that firearm offenses were racketeering acts.

12:31PM   10                MR. IOVIENO:    I wasn't aware of that.

          11                THE COURT:     I haven't fouled it up that badly anyway.

          12                :   Mr. Norkunas.

          13                MR. NORKUNAS:     Judge, I join with my Brothers, but I

          14     thought the hypothetical was appropriate because it did appear

          15     to me as you were reading it through that the essence part of

          16     that was are they confused on the two predicate acts that they

          17     really have to have two because they seemed to have applied do

          18     we need to find all three is what they said.

          19                THE COURT:     To me, that's the key question, their last

12:31PM   20     sentence, which I'll repeat, "To be more specific, would we

          21     need to be able to establish that MS-13 as an enterprise

          22     engaged in murder, attempted murder, and illegal drug activity

          23     or just one or more of those actions?"         And the short answer is

          24     it's one or more of those actions, but they have to agree

          25     unanimously.    That's the simple answer.
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           1                MR. NORKUNAS:    Right, but two predicate acts.

           2                THE COURT:    Right.   I can't say it that way because

           3     it's more complicated, but that's, I think, what the goal of my

           4     answering the question is, which is why I was attempting to

           5     come up with a hypothetical, which, you know, the danger is

           6     anything you do to try to make it simple eliminates the

           7     subtlety that may be problematic, so I'm not going to use the

           8     disfavored word, "join."

           9                I'll take it from the top, emphasize that the jury has

12:32PM   10     to be unanimous as to the particular types of racketeering

          11     acts, and it can be two acts of murder or two acts of assault

          12     with intent to commit murder or two acts of drug trafficking

          13     activity, but it can't be one and one.

          14                MS. LAWRENCE:    And I think the written instructions do

          15     say and any combination of those, so that might be worth adding

          16     if they're thinking does it have to be all of them, and it

          17     doesn't necessarily have to be one, it can be a combination.

          18                THE COURT:    All right.    So how about if I end like

          19     this, it has to be unanimous agreement as to the particular

12:33PM   20     type of racketeering activity in question, it has to be two

          21     acts of murder or two acts of armed assault or two acts of drug

          22     trafficking, or any combination of them.         If the jury were to

          23     find unanimously it was one act of murder, one act of drug

          24     trafficking, that would not qualify.        If half of them thought

          25     it was two acts of murder and half of them thought two acts of
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           1     drug trafficking, that would not qualify.         It has to be

           2     unanimous agreement as to two acts of a particular type of

           3     racketeering activity.

           4                Mr. Murphy.

           5                MR. MURPHY:    Your Honor, my apologies, I would ask for

           6     a second bite.     I would ask that the Court include somewhere in

           7     its statement the reference from a sentence in what is now page

           8     45 of the Court's instructions, something on the lines of, "In

           9     other words, the government must prove that the defendant

12:34PM   10     agreed to participate in the conspiracy and that the conspiracy

          11     involved or would involve the commission of two racketeering

          12     acts."   That's essentially from the middle of page 45.

          13                THE COURT:    Yes, I plan to say that close to verbatim.

          14                MR. MURPHY:    Thank you, your Honor.

          15                THE COURT:    Okay.   Let's line them up.     It's

          16     Exhibit J.

          17                (Exhibit J was marked for identification.)

          18                THE CLERK:    All rise for the jury.

          19                (JURORS ENTERED THE COURTROOM.)

12:38PM   20                THE CLERK:    Thank you.    You may be seated.

          21                THE COURT:    All right.    Ladies and gentlemen, you've

          22     sent a note, which I will read aloud as follows:

          23                For the first element of Count 2 on page 35 to 36, the

          24     following statement reads:

          25                The defendants and their co-conspirators are alleged
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           1     to have conspired to conduct and participate in the conduct of

           2     the affairs of the MS-13 criminal enterprise through a pattern

           3     of racketeering activity that included murder, attempted murder

           4     and illegal drug trafficking.

           5                Further, it also states that if you find beyond a

           6     reasonable doubt that a conspiracy of some kind existed between

           7     the defendant and some other person, that in and of itself is

           8     not sufficient to find the defendant guilty.

           9                Again, the government is required to prove beyond a

12:39PM   10     reasonable doubt the existence of the conspiracy specified in

          11     the indictment.

          12                As per the terms of this indictment, in order to

          13     establish the first element, do we need to be able to find

          14     evidence beyond a reasonable doubt of all elements of

          15     racketeering specified in the indictment or only one or more

          16     pieces.    To be more specific, would we need to be able to

          17     establish that MS-13 as an enterprise engaged in murder,

          18     attempted murder and illegal activity or just one or more of

          19     those actions.

12:39PM   20                All right.    I'm going to answer that, and I apologize

          21     for how complicated this is.       Again, it's important that we get

          22     it right and that you understand that it is complicated.

          23                Let me begin by summarizing some basics.         I'm just

          24     going to give you a summary to set the stage here.           My detailed

          25     instructions, of course, should control your deliberations.
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           1     The defendants are charged with a conspiracy.          It's a

           2     conspiracy to commit the crime of racketeering.          The defendants

           3     must agree that the objective of the conspiracy was to conduct

           4     the affairs of an enterprise through a pattern of racketeering

           5     activity.    A pattern of racketeering activity means two or more

           6     racketeering acts that are related and that pose a threat of

           7     continuing criminal activity.

           8                 There are, I think, five types of racketeering acts

           9     that are specified in the indictment and that are charged here:

12:40PM   10     Murder, assault with intent to murder, armed assault with

          11     intent to murder, conspiracy to commit murder, and conspiracy

          12     to possess control substances with intent to distribute them

          13     and to distribute controlled substances.

          14                 To make this simpler and easier to understand, I'm

          15     going to call those murder, attempted murder and drug

          16     trafficking.    Your focus should be on the agreement.            The

          17     defendants don't have to have personally committed any

          18     racketeering acts.     They don't have to agree that they

          19     personally would commit racketeering acts, and racketeering

12:41PM   20     acts don't even have to have been committed, but the agreement

          21     has to include an agreement that a pattern of racketeering

          22     activity would occur, and they have to agree that a particular

          23     type of racketeering activity would occur, and you have to

          24     unanimously agree on the particular type of racketeering

          25     activity.
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           1                Again, the defendants have to have agreed to conduct

           2     the affairs of an enterprise that would engage in a pattern of

           3     racketeering activity.      In other words, the commission of two

           4     racketeering acts, but you have to unanimously agree on a

           5     particular type of racketeering activity.

           6                Again, there's five specified in the indictment, five

           7     are laid out in the instructions.        Again, for the sake of

           8     simplicity, I'm going to call them three:         Murder, attempted

           9     murder and drug trafficking.       So you must unanimously agree

12:42PM   10     that the pattern of racketeering activity in question involved

          11     two acts of murder or two acts of attempted murder or two acts

          12     of drug trafficking or any combination of those, but if you

          13     find one act of murder and one act of drug trafficking, that

          14     doesn't qualify.     If half of you think that the relevant acts

          15     are murder and the other half think the relevant acts are drug

          16     trafficking, that does not qualify.

          17                All twelve of you have to agree on the particular type

          18     of racketeering activity involved, in other words, agree that

          19     it involved at least two acts of murder, at least two acts of

12:42PM   20     attempted murder, or at least two acts of drug trafficking, or

          21     any combination of those.

          22                And, again, I'm using shorthand, murder, attempted

          23     murder and drug trafficking to describe the five specific types

          24     of crimes alleged in the indictment.

          25                All right.    I hope that is helpful.      I would direct
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           1     your attention to page 49 of my instructions which talks about

           2     this unanimous agreement requirement, just to refresh you, and

           3     just one more time, the jury has to unanimously agree that the

           4     enterprise involved a particular type of racketeering acts.             It

           5     can be two acts of murder, two acts of attempted murder, two

           6     acts of drug trafficking, any combination of that, but you have

           7     to unanimously agree on two particular types of acts, and one

           8     and one doesn't count, and if you're split between murder and

           9     drug trafficking, that doesn't count, you have to unanimously

12:43PM   10     agree on the type of act.

          11                THE COURT:    All right.    Let me see the lawyers quickly

          12     before I let you go.

          13                (THE FOLLOWING OCCURRED AT SIDEBAR:)

          14                MR. POHL:    Your Honor, I'd say two things.       At the

          15     very end of their note, they specifically said do we need to

          16     find all three, and you can answer that question no.              They did

          17     specifically ask, and I think it's okay for you to specifically

          18     answer.

          19                THE COURT:    All right.    I'll clarify that.

12:44PM   20                MR. POHL:    And the other thing is I have nothing to

          21     add to any of the other part of the instructions.          The one and

          22     one doesn't count though, I think was confusing.          I think you

          23     can say if you all find -- it's the unanimity that matters,

          24     right.

          25                THE COURT:    Okay.
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           1                MR. POHL:    If you all find one attempted murder and

           2     one drug trafficking or one attempted murder and one murder

           3     that counts.    The one and one doesn't count.        I think it's in

           4     conflict with the other instructions that you gave.

           5                THE COURT:    So, in other words, you want me to clarify

           6     that they could unanimously find one murder and one drug

           7     trafficking?

           8                MR. POHL:    Or one murder and one attempted murder,

           9     sure.

12:45PM   10                THE COURT:    All right.    I'll clarify.

          11                MR. LOPEZ:    As long as they add up to two.

          12                THE COURT:    As long as they add up to two, yes.

          13                MS. LAWRENCE:    And they all agree which categories.

          14                MR. POHL:    Right.   But I think the key point is their

          15     last -- the end of their note asked a specific question, and do

          16     we need to find all three, and I think your answer back to them

          17     should be you don't need to find all three.

          18                MR. MURPHY:     Your Honor, from my perspective, at the

          19     very end --

          20                THE COURT:    Yes.

          21                MR. MURPHY:     -- the Court said, I believe, that they

          22     have to agree unanimously that the enterprise would involve.            I

          23     would respectfully say that the Court remind the jury that they

          24     unanimously agree that the defendants --

          25                THE COURT:    I'll make that clear.
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           1                MR. MURPHY:     Each defendant separately agreed.

           2                MS. LAWRENCE:    That the enterprise would involve.

           3                THE COURT:    Yes.

           4                MR. MURPHY:     I would say agreed, again, I think it's

           5     the most helpful to quote the language of the instruction.

           6                THE COURT:    Very clear, helpful language.

           7                (SIDEBAR CONFERENCE WAS CONCLUDED)

           8                THE COURT:    Let me clarify a couple of things.         It's

           9     hard, even for the Judge to get this right.         The first is your

12:46PM   10     specific question was need you find all three types of

          11     racketeering activities, and the short answer to that is no,

          12     you do not need to find all three.

          13                I said somewhat loosely one and one doesn't count.

          14     That was confusing and perhaps may have misled you.           You must

          15     find unanimity as to two alleged racketeering acts.           It can be

          16     one murder act and one drug act, but it has to add up to two.

          17     In other words, you must be unanimous as to each one, and it

          18     must add up at least to two, and it has to be unanimous.

          19     Again, you can't have half of you agreeing it's one thing and

12:46PM   20     half of you agreeing it's something else.         It has to be

          21     unanimous, and it has to add up to two.

          22                And I also, to be clear, again, the focus is on the

          23     defendants, what they agreed to do, and the issue is whether

          24     each defendant individually agreed that the enterprise would

          25     involve these types of racketeering activity.          It's not a
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           1     finding alone that the enterprise involved the racketeering

           2     activity, it's that these defendants agreed that the enterprise

           3     would involve these particular types of activity, and your

           4     focus, again, should be on each individual defendant and what

           5     they did or did not agree to.

           6                All right.    I hope that's helpful.      Don't be shy about

           7     asking me for further instructions if you think it isn't, and

           8     I'll do my best, and I instruct you to retire and resume your

           9     deliberations.

12:47PM   10                THE CLERK:    All rise.

          11                (JURORS EXITED THE COURTROOM.)

          12                THE COURT:    While the lawyers are here, we have a

          13     medical emergency.      One of the jurors, she needs to go home.

          14     What I'm going to do is tell her to go home.          Once we've

          15     assembled them, I'll tell them to stop deliberating and make a

          16     record of it.     Any problem with that?

          17                MS. LAWRENCE:    No.

          18                THE CLERK:    All rise.

          19                ( A recess was taken.)

03:57PM   20                THE COURT:    So I basically said exactly what I

          21     indicated I was going to say, that we had an emergency, I

          22     instructed them to stop deliberating, and as soon as we got

          23     everyone together, we'd assemble in the courtroom, I'll

          24     discharge them for the day and tell them to resume tomorrow,

          25     and her note says, I'll omit her name, "I'm having a medical
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           1     issue and need to leave for the day."         It's Juror Number 14,

           2     and I'll mark that as Exhibit K.

           3                (Exhibit K marked for identification.)

           4                THE CLERK:    All rise for the jury.

           5                (JURORS ENTERED THE COURTROOM.)

           6                THE CLERK:    Thank you.    You may be seated.     Court is

           7     now back in session.

           8                THE COURT:    Ladies and gentlemen, welcome back.      The

           9     three alternates are present as well as all counsel and

04:04PM   10     defendants.    As you know, a few moments ago, I let one of you

          11     go home and instructed you to stop deliberating for the day.

          12     It's a few minutes after four, so I am going to let you go for

          13     the day.    Please remember my cautions not to discuss the case

          14     except in the confines of the jury room and not to pay any

          15     attention to any media reports of any kind, and we will resume

          16     tomorrow morning by getting together in the courtroom at 9:00

          17     and resume deliberations.       I'll instruct you to resume

          18     deliberations at that point.       All right.    Thank you.

          19                THE CLERK:    All rise.

          20                (JURORS EXITED THE COURTROOM.)

          21                (Whereupon, the hearing was adjourned at 4:04 p.m.)

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 1                              C E R T I F I C A T E

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 3     UNITED STATES DISTRICT COURT )

 4     DISTRICT OF MASSACHUSETTS ) ss.

 5     CITY OF BOSTON )

 6

 7                 I do hereby certify that the foregoing transcript was

 8     recorded by me stenographically at the time and place aforesaid

 9     in Criminal Action No. 15-10338-FDS, UNITED STATES vs.

10     HERZZON SANDOVAL, et al., and thereafter by me reduced to

11     typewriting and is a true and accurate record of the

12     proceedings.

13                 Dated this 22nd day of June, 2018.

14                                 s/s Valerie A. O'Hara

15                                 _________________________

16                                  VALERIE A. O'HARA

17                                  OFFICIAL COURT REPORTER

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